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                           UNITED STATES DISTRICT COURT
    5
                         CENTRAL DISTRICT OF CALIFORNIA
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    7   IN RE: NATIONAL FOOTBALL               Case No. 2:15-ml-02668-PSG (SKx)
    8   LEAGUE’S “SUNDAY TICKET”
        ANTITRUST LITIGATION                   ORDER GRANTING JOINT
    9                                          STIPULATION ON THE
        _______________________________
   10                                          NUMBER OF EMPANELED
                                               JURORS AND PEREMPTORY
   11                                          STRIKES
        THIS DOCUMENT RELATES TO
   12   ALL ACTIONS
                                              Judge: Hon. Philip S. Gutierrez
   13                                         Final Pretrial Conference: 6/4/24 at
   14                                                                     1:30 p.m.
                                              Trial: 6/5/24 at 9:00 a.m.
   15                                         Courtroom: First Street Courthouse
   16                                                      350 West 1st Street
                                                           Courtroom 6A
   17                                                      Los Angeles, CA 90012
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                             ORDER GRANTING JOINT STIPULATION ON
                    THE NUMBER OF EMPANELED JURORS AND PEREMPTORY STRIKES
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    1         Pursuant to the Joint Stipulation of Plaintiffs and the NFL Defendants, the
    2   Court hereby grants the Parties’ request: (1) to empanel ten jurors, eight of whom
    3   will deliberate and two of whom will be alternates; (2) that the alternate jurors not
    4   know that they are alternates until after the case is submitted; (3) that the Court and
    5   the Parties know which juror seats will be alternates at the time the jury is empaneled
    6   and before peremptory strikes are exercised; and (4) each party will have four
    7   peremptory strikes to exercise during jury selection.
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    9                                                  IT IS SO ORDERED.
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   11           June 4, 2024
        Dated: ___________________                     ______________________________
                                                       PHILIP S. GUTIERREZ
   12
                                                       United Sates District Judge
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                               ORDER GRANTING JOINT STIPULATION ON
                      THE NUMBER OF EMPANELED JURORS AND PEREMPTORY STRIKES
